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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                      CRIMINAL ACTION

 VERSUS                                                        NO. 11-107

 GREGORY STEWART, ET AL.                                       SECTION: “G” (1)




                                     ORDER AND REASONS

       Before the Court is Defendant Terrioues Owney’s (“Owney”) Motion to Sever,1 wherein

he requests severance from the trial of co-defendants Gregory Stewart (“Stewart”) and Evans

Lewis (“Lewis”). The Court has considered the parties’ filings, the oral arguments presented at a

hearing on September 26, 2013, the record, and the applicable law. For the reasons that follow,

the Court will grant the motion.

                                         I. Background

       A federal grand jury issued a Fourth Superseding Indictment on January 19, 2012,

charging Owney with two felony counts related to his alleged participation in a conspiracy to

possess with the intent to distribute one kilogram or more of heroin.2 The conspiracy is alleged to

have occurred from before December 2008 through December 20, 2011.3 Specifically, the grand

jury charged Owney, in Count 1, with participating in the conspiracy.4 It also charged Owney, in

Count 5, of using a telephone in furtherance of the drug-trafficking offense alleged in Count 1.5



       1
           Rec. Doc. 396.
       2
           See Rec. Doc. 208.
       3
           Id. at 1–2.
       4
           Id.
       5
           Id. at 3.
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       Including Owney, the grand jury charged nine co-defendants with conduct related to the

conspiracy.6 Only co-defendants Owney, Lewis, Stewart, Darick Wallace, and Parnell Watts

remain in the case.7 Lewis and Stewart, the co-defendants from whom Owney seeks severance,

were indicted in Count 11 for allegedly carrying and using a “40 caliber semi-automatic

handgun” and a “7.62 caliber assault rifle” in relation to the conspiracy.8 The grand jury further

specially alleged that Stewart and Lewis killed Gregory Keys “after substantial planning and

premeditation.”9

       The remaining defendants, including Owney, are scheduled for a joint trial to begin on

January 21, 2014.10 Owney filed this motion to sever his trial from that of Lewis and Stewart on

January 12, 2013.11 The Court scheduled the motion for submission on April 4, 2013, and later

reset it, with oral argument, for September 26, 2013.12 The Government filed its response in

opposition on August 26, 2013.13

                                        II. Parties’ Arguments

A. Owney’s Arguments in Support

       Owney alleges that joinder of Defendants Stewart and Lewis would prejudice him at trial

because the indictment charges co-conspirators Stewart and Lewis with use of firearms in furtherance

of a drug trafficking crime, and intentionally carrying and using two firearms during and in


       6
           Id. at 1.
       7
           Rec. Doc. 520 at 1.
       8
           Rec. Doc. 208 at 5.
       9
           Id. at 6–7.
       10
            Rec. Doc. 500.
       11
            Rec. Doc. 396.
       12
            Rec. Docs. 449, 468, 535.
       13
            Rec. Doc. 520.
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retaliation of a drug trafficking crime that resulted in murder.14 Owney further argues that the trials

should be severed because the jurors will not be able to “compartmentalize and separate the evidence

as to each defendant,” which will be “complex and voluminous” and liable to confuse the jury.15

Along these lines, Owney contends that the Government’s likely use of communications from

wiretap interceptions will leave the jury struggling to assess the evidence separately against each

defendant.16

B. Government’s Arguments in Opposition

       The Government argues that joinder of Owney with Lewis and Stewart is proper under

Federal Rule of Criminal Procedure 8(a) because “[i]t is the rule, not the exception, ‘that persons

indicted      together       should    be    tried    together,    especially      in   conspiracy     cases.’”17

Here, even though Owney is not charged in Keys’s murder, Count 1 alleges his involvement in

the overall conspiracy to distribute heroin.18 Following this logic, the Government asserts that

severance of Owney from the trial of Stewart and Lewis is proper only if the Court determines

that any prejudice the joinder causes “outweighs the benefit of judicial economy.”19 Moreover,

the Government asserts that the Court may limit any potential prejudice by issuing the jury

limiting instructions. Finally, the Government asserts that Owney “has not carried his burden of

showing that there is a serious risk that a joint trial would prejudice him.”20 It contends that

Owney has offered no specific showing of either why the jury cannot compartmentalize the
       14
            Rec. Doc. 396-1 at 1–2.
       15
            Id. at 2.
       16
            Id.
       17
            Rec. Doc. 520 at 3 (quoting United States v. Thomas, 627 F.3d 146, 156 (5th Cir. 2010)).
       18
            Rec. Doc. 208.
       19
            Rec. Doc. 520 at 4 (citations omitted).
       20
            Id. at 7.
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evidence to be presented against each defendant or why limiting instructions from the Court

cannot cure any threat of prejudice.21

                                            III. Law and Analysis

       A court may order severance of the trials of joint defendants if joinder of offenses or

defendants will prejudice a defendant.22 The district court has broad discretion to determine

whether to sever the trials of joint defendants.23

       Owney contends that the jury will be unduly prejudiced against him when it considers

evidence of the murder that Lewis and Stewart are alleged to have committed. Owney generally

suggests that the jury will not be able to follow the Court’s instructions or be able to

“compartmentalize” evidence related to separate offenses and separate defendants.

       Meanwhile, the Government cites United States v. Posada-Rios, wherein the Fifth Circuit

held that evidence of co-conspirators’ “gruesome murders,” committed before a co-defendant

even joined the conspiracy, was not enough to compel severance because the “district court took

a number of steps to lessen the prejudice to individual defendants from a joint trial.”24 Those

steps included instructions to both potential jurors during voir dire and the empaneled jurors that

“the case against each individual defendant should be considered separately.”25 The district court

also allowed the jurors to take notes and to use photographs of the defendants “to enable the

jurors to keep the defendants separate in their minds.”26 Finally, the court instructed the jury


       21
            Id.
       22
            F. R. of Crim. P. 14(a).
       23
            Id.
       24
            158 F.3d 832, 863 (5th Cir. 1998).
       25
            Id.
       26
            Id.
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before its deliberations that it must “give separate consideration to the evidence against each

defendant.”27

         The Court notes, however, that Posada-Rios, like the other cases the Government cites in

support, examined whether the district court abused its discretion in denying severance. The

government has failed to provide any case where the district court abused its discretion in

granting severance once it determined that a joint trial posed a risk of prejudice to one or more

co-defendants.

         The Court agrees with Defendant that trying him with Lewis and Stewart creates a risk of

prejudice in that the jury might impermissibly incorporate the evidence of the charged murder

into the Government’s conspiracy case against Owney.28 The Court acknowledges that Fifth

Circuit precedent allows the Court to issue limiting instructions to cure such potential prejudice.

However, absent any authority requiring that remedy, and in light of the clear language of Rule

14 that the choice of remedy rests in the Court’s discretion, the Court will order severed trials in

this matter. The co-defendants who have not been charged with murder shall be tried together,

and, for the reasons set forth in the Court’s separate Order and Reasons granting the motion to

sever filed by Lewis and Stewart, those two defendants shall be tried individually.

                                                 IV. Conclusion

         For the foregoing reasons, the Court finds that joinder of Owney in the trial of either

Stewart or Lewis would be prejudicial to his constitutional rights. The Court further finds that




         27
              Id. at 864.
         28
           See Zafiro v. United States, 506 U.S. 534, 539 (“When many defendants are tried together in a complex
case and they have markedly different degrees of culpability, th[e] risk of prejudice is heightened.”); see also United
States v. McRae, 701 F.3d 806 (5th Cir. 2012) (reversing conviction of police officer for killing suspect because
evidence of co-defendants’ crimes was highly prejudicial and unrelated to officer’s defense).
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any prejudice that joinder causes “outweighs the benefit of judicial economy” in trying the

defendants together.

           IT IS HEREBY ORDERED that Owney’s Motion to Sever Defendant is GRANTED;29

           IT IS FURTHER ORDERED that Owney shall be tried with co-defendants Wallace

and Watts;

           NEW ORLEANS, LOUISIANA, this ________ day of December, 2013.


                                           _________________________________________
                                           NANNETTE JOLIVETTE BROWN
                                           UNITED STATES DISTRICT JUDGE




29
     Rec. Doc. 396.
